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                IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE
_________________________________________
                                          )
In re:                                    ) Chapter 11
                                          )
SOUTHCROSS ENERGY PARTNERS, L.P.,         ) Case No. 19-10702 (MFW)
et al.,                                   )
                                          ) Jointly Administered
            Debtors.1                     )
                                          )
_________________________________________ )  RE: D.I. 349

    ORDER EXTENDING THE EXCLUSIVE PERIODS WITHIN WHICH TO FILE A
          CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

                     Upon the motion (the “Motion”)2 of Southcross Energy Partners, L.P.

(“Southcross”), Southcross Energy Partners GP, LLC, and Southcross’s wholly owned direct

and indirect subsidiaries, each of which is a debtor and debtor in possession in the Chapter 11

Cases (collectively, the “Debtors”), for entry of an order, pursuant to section 1121(d) of the

Bankruptcy Code, extending the Exclusive Periods, as more fully described in the Motion; and

the Court having jurisdiction to consider the matters raised in the Motion pursuant to 28 U.S.C.

§ 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012; and the Court having authority to hear the


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          The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective Employer Identification Numbers, are as follows: Southcross Energy Partners, L.P. (5230); Southcross
Energy Partners GP, LLC (5141); Southcross Energy Finance Corp. (2225); Southcross Energy Operating, LLC
(9605); Southcross Energy GP LLC (4246); Southcross Energy LP LLC (4304); Southcross Gathering Ltd. (7233);
Southcross CCNG Gathering Ltd. (9553); Southcross CCNG Transmission Ltd. (4531); Southcross Marketing
Company Ltd. (3313); Southcross NGL Pipeline Ltd. (3214); Southcross Midstream Services, L.P. (5932);
Southcross Mississippi Industrial Gas Sales, L.P. (7519); Southcross Mississippi Pipeline, L.P. (7499); Southcross
Gulf Coast Transmission Ltd. (0546); Southcross Mississippi Gathering, L.P. (2994); Southcross Delta Pipeline
LLC (6804); Southcross Alabama Pipeline LLC (7180); Southcross Nueces Pipelines LLC (7034); Southcross
Processing LLC (0672); FL Rich Gas Services GP, LLC (5172); FL Rich Gas Services, LP (0219); FL Rich Gas
Utility GP, LLC (3280); FL Rich Gas Utility, LP (3644); Southcross Transmission, LP (6432); T2 EF Cogeneration
Holdings LLC (0613); and T2 EF Cogeneration LLC (4976). The debtors’ mailing address is 1717 Main Street,
Suite 5300, Dallas, TX 75201.
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              Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Motion.

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matters raised in the Motion pursuant to 28 U.S.C. § 157; and venue being proper before this

Court pursuant to 28 U.S.C. § § 1408 and 1409; and consideration of the Motion and the

requested relief being a core proceeding that the Court can determine pursuant to 28 U.S.C. §

157(b)(2); and due and proper notice of the Motion and opportunity for a hearing on the Motion

having been given to the parties listed therein, and it appearing that no other or further notice

need be provided; and the Court having reviewed and considered the Motion; and the Court

having the opportunity to hold a hearing on the Motion; and the Court having determined that the

legal and factual bases set forth in the Motion establish just cause for the relief granted herein;

and the Court having found that the relief granted herein being in the best interests of the

Debtors, their creditors, their estates, and all other parties in interest; and upon all of the

proceedings had before the Court; and after due deliberation and sufficient cause appearing

therefor,

IT IS HEREBY ORDERED THAT:

        1.      The relief requested in the Motion is hereby granted as set forth herein.

        2.      The Exclusive Filing Period is hereby extended by 90 days through and including

October 28, 2019. The Exclusive Solicitation Period is hereby extended by 90 days through and

including December 27, 2019.

        3.      The relief granted in this Order is without prejudice to the Debtors’ right to seek

and request further extensions of the Exclusive Periods.

        4.      Proper, timely, adequate, and sufficient notice of the Motion has been provided in

accordance with the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the

Local Rules, and no other or further notice of the Motion or the entry of this Order shall be

required.


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       5.      The Court shall retain exclusive jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, and enforcement of this Order.




       Dated: July 15th, 2019                   3
       Wilmington, Delaware                           MARY F. WALRATH
                                                      UNITED STATES BANKRUPTCY JUDGE
